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                                        THE LAW OFFICE OF
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                                           July 15, 2019

Ms. Angela D. Caesar, Clerk of the Court
United States District Court for the District of Columbia
333 Constitution Avenue, N.W.
Washington, D.C. 20001

Via electronic filing & hand delivery

       Re:     William Schooley et al., v. Islamic Republic ofIran et al.,
               Civil Action No. 1:17-CV-01376-BAH
               Request for Foreign Mailing to Defendants Islamic Republic of Iran & Iranian
               Political Subdivisions Pursuant to 28 U.S.C. § 1608(a)(3).

Dear Ms. Caesar:

        In connection with the above-captioned case, and pursuant to 28 U.S.C. § 1608(e), I am
writing to request service by the Clerk of the default judgment entered in this case, pursuant to
28 U.S.C. § 1608(a)(3), on the following defendants:
(1) Islamic Republic of Iran;
(2) Iranian Ministry of Intelligence and Security; and
(3) Iranian Islamic Revolutionary Guard Corps.

         For purposes of service, all of the above-listed defendants are considered either the
"foreign state" of the Islamic Republic of Iran or a ''political subdivision of [the] foreign
state[,]"under 28 U.S.C. § 1608(a).

         This case was brought under 28 U.S.C. § 1605A against the defendants for material
support of terrorism for their roles in the Khobar Towers bombing in Saudi Arabia. Because this
case is governed by the Foreign Sovereign Immunities Act, service of the default judgment must
be made by attempting those methods listed in 28 U.S.C. § 1608(a)(l)-(4) in the order that they
are listed in the statute. 28 U.S.C. 1608(e) (" A copy of any such default judgment shall be sent
to the foreign state or political su�division in the manner prescribed for service in this section.")

        Please find enclosed three sets of documents, one for each defendant, ready for service
upon defendants. The three sets of documents include:
         1) a copy of the Default Judgment entered by the Court on June 27, 2019, and a certified
translation of the Default Judgment into Farsi;
        2) a copy of the Order issued by the Court on June 27, 2019, and a certified translation of
the Order into Farsi; and
        3) a copy of the Default entered by the Court on April 23, 2018, and a certified
translation of the Default into Farsi.
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